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            EXHIBIT 5
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                  UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:    PHARMACEUTICAL                MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE              CIVIL ACTION

    PRICE LITIGATION                        01-CV-12257-PBS

    THIS DOCUMENT RELATES TO

    U.S. ex reI. Ven-a-Care of              Judge Patti B. Saris

    the Florida Keys, Inc.

         v.                                 Chief Magistrate

    Abbott Laboratories, Inc.,              Judge Marianne B.

    No. 06-CV-11337-PBS                     Bowler




        Videotaped deposition of MARK G. DUGGAN PH.D.

                               Volume III



                                  Washington, D.C.

                                  Friday, July 25, 2008

                                  9:00 a.m.




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 1 the most accurate picture to emerge. So to the extent      1   the numbers would be higher. That would be a
 2 that there -- so yeah.                                     2   conservative -- it might -- I'm not even sure that it
 3     Q. If you really wanted to be conservative in          3   would serve to reduce the value of difference. But I
 4 Abbott's favor, Dr. Duggan, would it not have been         4   believe that exactly what I did was appropriate for
 5 prudent to identifY those states which have lower          5   the question in hand.
 6 reimbursement amounts per claim and either exclude         6      Q. And my question was a narrower one. It's
 7 those from your difference calculation or seek to get      7   not judging your entire analysis whether it's fair or
 8 the claims data for those states?                          8   not.
 9         MS. THOMAS: Objection.                             9      A. Right.
l O A . You know, once again, at a number of points          10      Q. It's was my suggestion being arbitrarily
11 in the analysis when I believed that there was a fork     11   conservative.
12 in the road, as I discussed earlier, I endeavored to      12           MR. LAVINE: Object to form.
13 be conservative. It is the issue of whether one of        13           MS. THOMAS: Objection.
14 these 38 states -- I believe I -- my sense from           14      A. I would need to -- I guess I would need to
1 5 examining the data is that any -- to the extent that     15   reflect on that issue a bit more.
16 there are any cases where I would overestimate I would    16      Q. I'll ask you next time.
17 much more often than not -- so it's not -- I'm not        17           If you would go to Exhibit 1113. This is
18 trying to be arbitrarily conservative. I'm trying to      18   the except from the 1997 report.
19 be conservative while getting the most accurate number    19      A. Two pages, right?
20 possible. And so at some level the most conservative      20      Q. Yes. Does this show that for all drug
21 thing would be to consider no Medicaid claims for any     21   payments for the year 1996 the State of Pennsylvania
22 states or Medicare claims.                                22   ranked fifth?
                                               Page 530                                                      Page 532

 1       Q. That's what I would like you to do. I'm          1          MR. LAVINE: Object to form.
 2   teasing. Go ahead.                                      2      A.   It does. I'm not sure if this is NDC-based
 3      A. So I applied the absolute -- I really did          3 only, but that's what it says.
 4   use all my training to try to produce for the court      4     Q. Pennsylvania, if you recall, was one ofthe
 5   and others with an interest in this case an estimate     5 states you had identified in your handwritten notes as
 6   that I think -- a result that I think will stand the     6 one from which you would seek to get claims data; is
 7   test of time and that it is accurate. And in doing       7 that right?
 8   that when the data wasn't perfect I tried to penalize    8         MS. THOMAS: Objection to form.
 9   things in Abbott's favor.                                9         MR. LAVINE: Object to form.
10       Q. Now, the suggestion that I made about            l O A . In my -- I believe those notes were from
11   locating those states that have the lower               11 February of2007. So very, very early on. And it is
12   reimbursement amounts per claim -­                      12 true that in those notes from February of '07 or March
13       A. Right.                                           13 of '07 that Pennsylvania was listed.
14       Q. -- excluding them from your analysis,            14                   (Exhibit Abbott 1117 was
15   getting the claims data, that's not something that's    15                   marked for identification.)
16   being arbitrarily conservative, is it, that             16         BY MR. TORBORG:
17   suggestion?                                             17     Q. Okay. What I've marked as Exhibit 1117
18      A. I think the algorithm that I've used is an        18 bears the Bates number EXP USABT-DUG -­
19   appropriate one and a conservative one. To the extent   19     A. Yeah,3190.
20   that there is -- I believe that if I were to take a     20     Q. -- 3190. This appears to me to be some
21   symmetric approach to these 38 states and suppose had   2 1 e-mail correspondence between representatives of the
22   perfect data for every one of them, that, as I said,    22 State of Pennsylvania and individuals with Steck

                                                                                    25    (Pages 529 to 532)
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 1 Consulting that deals with the topic of getting claims  1       But for Wisconsin the data went back all the way to
 2 data from the State of Pennsylvania.                    2       1993.
 3        Do you recall, Professor Duggan, anything        3               And so it is -- my sense is that for the
 4 about Steck Consulting or the government's attempt to   4       same sort of diminishing returns reason one has to
 5 get claims data from the State of Pennsylvania?         5       draw the line somewhere. If one works from the bottom
 6        MR. LAVINE: Object to form.                      6       of the table up, Washington D.C., Vermont, Alaska,
 7    A. I recall that they were a state that was          7       those aren't on the sort of cusp. I drew the line
 8 contacted fairly early on. So this is consistent with   8       where I felt was appropriate given the data that was
 9 my recollection that they were contacted pretty early   9       available and those other issues.
lOon. I don't recall the details. I don't think I'm       10               THE WITNESS: I don't know when we're going
11 cc'd on this. I don't recall the details of this       11       to do lunch.
12 discussion here.                                       12               MS. BROOKER: Are you okay keeping going?
13    Q. If you go to Abbott Exhibit 1115, which is       13               MR. TORBORG: I'm about done with this
14 the e-mail correspondence that has the chart of claims 14       line.
15 data that we looked at earlier, does it appear as      15               MS. BROOKER: Just tell Dave when you think
16 though some claims data for NDC claims was produced b) 16       you need to break.
17 the State of Pennsylvania, starting with the year      17               MR. TORBORG: I probably have about five
18 1998?                                                  18       minutes.
19        MR. LAVINE: Object to form.                     19               BY MR. TORBORG:
20    A. I'm sorry. Where are we?                         20           Q. You did utilize -- or included in your 11
21    Q. Abbott Exhibit 1115, Bates page ending 479.      21       states are states that had less claims data than
22    A. 479?                                             22       Pennsylvania, though, am I right?
                                                Page 534                                                      Page 536
 1      Q.     Yes.                                           1        A. Only Wisconsin. Well, actually, Wisconsin
 2      A.     Yes, I see that. So your question again        2    has more claims.
 3   was -- I see the Pennsylvania on there. I don't          3        Q. Years of claims data.
 4   remember exactly what your question was.                 4        A. Correct. So it would a sort of two pronged
 5       Q. Does it appear to you as though Steck             5    decision.
 6   Consulting received claims data from the State of        6        Q. Like for the state of Michigan you had
 7   Pennsylvania?                                            7    claims data only starting in the fourth quarter of
 8           MR. LAVINE: Object to form.                      8    2000, right?
 9      A. It does appear that way, yes, from this.           9        A. I don't recall. That sounds right.
10       Q. And you do not have a separate -- I'll            10       Q. Missouri you had claims data starting in
11   state it another way. Pennsylvania is not one of the     11   the first quarter of 1998, right?
12   11 states, correct?                                      12       A. That's correct. That's what I recall. So
13       A. That's correct.                                   13   inevitably when one draws the line there's going to be
14       Q. Do you know why not?                              14   a state that's close to the line and, you know, on
15       A. As I said earlier, I considered at least          15   either side. And Pennsylvania was a state -­
16   two factors -- well, I guess at least three factors -­   16   Washington D.C. wasn't close to the line.
17   when determining whether to add, let's say, a state.     17   Pennsylvania was. But I drew the line where I felt it
18   One was did we have data from it. Two was is it large    18   was appropriate.
19   amount of Medicaid spending. And three, how much         19       Q. Who made the decision on where to draw the
20   coverage do we have for the state. And so here we can    20   line? Was that you or Steck Consulting or was there a
21   see Pennsylvania has -- of the 11 states I considered,   21   discussion about that?
22   Pennsylvania's spending is higher only than Wisconsin.   22           MR. LAVINE: Object to form.

                                                                                     26 (Pages 533 to 536)
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